           Case 1:21-cv-02380-BAH Document 10 Filed 09/13/21 Page 1 of 7


                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 PEOPLE FOR THE ETHICAL TREATMENT
 OF ANIMALS, et al.,
                                                     Civil Action No. 21-2380 (BAH)
                        Plaintiffs,
                                                     Chief Judge Beryl A. Howell
                        v.

 FRANCIS M. COLLINS,
 in his official capacity as Director of the
 National Institutes of Health, and

 XAVIER BECERRA,
 in his official capacity as Secretary of the U.S.
 Department of Health and Human Services,

                        Defendants.


                             STANDING ORDER FOR CIVIL CASES

              THIS ORDER CONTROLS THIS CASE SO READ CAREFULLY.
To help “secure the just, speedy, and inexpensive determination of” this action, FED. R. CIV. P. 1,
the parties are hereby ORDERED to comply with the following directions:

1.     REMOVED ACTIONS
       a. A defendant removing an action to this Court must refile any answer filed before
          removal and promptly ensure that all parties receive a copy of this Standing Order.
       b. Any motion pending in the court from which the case is removed at the time of removal
          must be refiled in this Court by the party seeking relief. See FED. R. CIV. P. 81(c)(2).
          Motions that are not refiled will be deemed withdrawn and not considered.

2.     COMMUNICATIONS WITH CHAMBERS
       Except as authorized in this Order, the parties may not contact Chambers by telephone. If
       extraordinary circumstances or emergencies so require, however, counsel may contact
       Chambers jointly via telephone conference. Chambers will not provide legal advice of any
       kind.




                                               Page 1 of 7
            Case 1:21-cv-02380-BAH Document 10 Filed 09/13/21 Page 2 of 7


3.      DUTY TO CONFER, INCLUDING FOR CASES EXEMPTED BY LOCAL CIVIL
        RULE 16.3(b)1
        a. Timing. Generally, the parties must meet and confer after any defendant first files an
           answer. See FED. R. CIV. P. 26(f). The parties must file the Joint Meet and Confer
           Report required by Local Civil Rule 16.3(d) within thirty days after any defendant files
           an answer or, if dispositive motions are filed pursuant to Federal Rule of Civil Procedure
           12(b), within fourteen days after resolution of dispositive motions, unless the Court
           orders otherwise. Later-served or joined parties are required to comply with the
           Scheduling Order entered based on the original Joint Meet and Confer Report, unless,
           upon motion, they seek modification of the Order.
        b. Exempted Cases. Notwithstanding that the requirement to confer and submit a Joint
           Meet and Confer Report does not apply to certain exempted cases, see FED. R. CIV. P.
           26(a)(1)(B) and LCvR 16.3(b), in the following categories of exempted cases, an
           abbreviated Joint Meet and Confer Report is required:
              i. Administrative Procedure Act Cases: In any action for review on an
                   administrative record, counsel for the parties shall jointly prepare and submit a
                   report to the Court, within fourteen days after any defendant files an answer,
                   proposing a schedule for the filing of the certified list of the contents of the
                   administrative record and any motions.
             ii. FOIA Cases: In any action arising under the Freedom of Information Act
                   (“FOIA”), 5 U.S.C. § 552, counsel for the parties shall jointly prepare and submit
                   a report to the Court, within fourteen days after any defendant files an answer,
                   indicating whether the agency has made a final determination “whether to
                   comply” with any FOIA request at issue, § 552(a)(6)(A)(i).
                       a. If such a final determination has been made, the parties shall propose a
                           schedule for the filing of dispositive motions.
                       b. If no final determination has been made, the joint report shall contain (1)
                           an estimate provided by the defendant of when the agency expects a final
                           determination to be made; (2) a proposed schedule for production of
                           responsive records; and (3) a proposed schedule for the filing of
                           dispositive motions.
        c. Report Contents. The Joint Meet and Confer Report in cases subject to Local Civil Rule
           16.3(d) must address all matters listed in Federal Rule of Civil Procedure 26(f)(2) & (3)
           and Local Civil Rule 16.3(c), and must also include:
              i. a brief statement describing the nature of the case and the statutory basis of the
                   Court’s jurisdiction for all causes of action and defenses;
             ii. a proposed scheduling order in accordance with Local Civil Rule 16.3(d); and
            iii. any request for a conference with the Court before entry of the Scheduling Order.

4.      INITIAL STATUS CONFERENCE AND ISSUANCE OF SCHEDULING ORDER
        After submission of the Joint Meet and Confer Report, the Court will, if necessary, schedule
        an initial status conference to address matters that are not addressed or agreed to by the
        parties in the Joint Meet and Confer Report. As soon as practicable after submission of the
        Joint Meet and Confer Report or following the Initial Status Conference, the Court will issue


1
        The Local Civil Rules are available at http://www.dcd.uscourts.gov/court-info/local-rules-and-
orders/local-rules.

                                                 Page 2 of 7
        Case 1:21-cv-02380-BAH Document 10 Filed 09/13/21 Page 3 of 7


     a Scheduling Order governing proceedings in the case. See FED. R. CIV. P. 16(b); LCvR
     16.4.

5.   FILING GUIDELINES
     a. Courtesy Copies. Counsel shall provide Chambers, not the Clerk’s Office, with a
        printed courtesy copy, with ECF headers, of any electronic submission that, along with
        exhibits, numbers fifty (50) pages or more in total length. Such courtesy copies shall be
        in binders, three-hole punched, with double-sided pages. Exhibits shall be tabbed for
        ease of reference. Pro se, in forma pauperis, and incarcerated plaintiffs are excused
        from providing courtesy copies.
     b. Exhibit Index. Each submission that attaches more than one exhibit shall contain an
        index of exhibits. Exhibits shall be edited properly to exclude irrelevant material and to
        direct the Court’s attention to the pertinent portions.
     c. Attachments. Each attachment to a filing (e.g., supporting memorandum, statement of
        material facts, each exhibit, each affidavit, and proposed order) must be filed as a
        separate PDF and appropriately labeled in ECF. If the document has its own pagination,
        it should be a separate attachment.

6.   MOTIONS – GENERALLY
     a. Format. Motions and submissions should be double-spaced, in 12-point, Times New
        Roman font, with page numbers and margins of no less than 1 inch. All citations must
        include exact page references (pincites). Absent leave of the Court, memoranda of
        points and authorities in support of, and in opposition to, motions may not exceed 45
        pages, and reply memoranda may not exceed 25 pages. See LCvR 7(e). All
        electronically filed documents are to be in text-searchable Portable Data Format
        (“PDF”). Likewise, exhibits that must be scanned because they exist only in paper
        format should, if possible, be submitted as text-searchable files using Optical Character
        Recognition (“OCR”) technology, available in Adobe Acrobat.
     b. Sur-Replies: A party may not file a sur-reply without first obtaining leave of the Court
        and may do so only upon a specific showing of good cause. Any motion for leave to file
        a sur-reply shall be accompanied by a copy of the sur-reply that the party wishes to file.
     c. Oral Argument. A party may include a request for oral argument in its motion,
        opposition, or reply papers and, if this request is granted, counsel will be advised of the
        argument date. See LCvR 7(f).
     d. Duty to Confer Regarding Non-Dispositive Motions. Local Civil Rule 7(m), which
        requires counsel to confer before filing a non-dispositive motion and to include in the
        motion confirmation that such conferral occurred and a statement whether the motion is
        opposed, will be strictly enforced. See LCvR 7(m). Failure to comply with Local Civil
        Rule 7(m) when filing a non-dispositive motion may result in the motion being stricken.
     e. Motions to Amend Pleadings. Any amended pleading shall be accompanied by a redline
        comparison between the original and the amended or proposed amended pleading.
     f. Motions for Summary Judgment. This Court strictly enforces Local Civil Rule 7(h)
        when resolving motions for summary judgment and will “assume that facts identified by
        the moving party in its statement of material facts are admitted, unless such a fact is
        controverted in the statement of genuine issues filed in opposition to the motion.” LCvR
        7(h); see also FED. R. CIV. P. 56(e).
     g. Motions to Seal. A party must submit a redacted version, suitable for filing on the
        public docket, of any document that it proposes to seal at the same time the party files a
        motion to seal. If a party believes that all portions of a sealed document must remain
                                           Page 3 of 7
        Case 1:21-cv-02380-BAH Document 10 Filed 09/13/21 Page 4 of 7


        sealed, the party must specifically notify the Court of that belief at the time of filing the
        motion to seal.
     h. Motions to Seal Relying on Protective Orders: Parties may not rely solely on designation
        under a protective order to file documents under seal. Even when a protective order has
        been issued in a case, the Court cannot abdicate its responsibility to determine whether
        filings should be made available to the public, applying the test articulated in United
        States v. Hubbard, 650 F.2d 293 (D.C. Cir. 1980). Before moving to file under seal
        materials subject to a protective order, the moving party must confer with the opposing
        party and provide the results of that conferral process in the motion to seal, as well as
        analysis of the relevant Hubbard factors warranting sealing, to ensure that any requested
        sealing is appropriate under Hubbard.
     i. Pro Se Parties. In a case involving a pro se party, electronic filing procedures will be
        followed by parties represented by counsel only. Absent separate order of the Court, the
        party appearing pro se shall continue to file documents in paper form with the Clerk’s
        Office. Parties represented by counsel must serve documents upon pro se parties in
        paper form.
     j. Requests Other Than Ultimate Relief Referenced in Complaint. Requests other than for
        ultimate relief that are referenced in the Complaint, such as requests for an extension of
        time to seek class certification or for a temporary restraining order, shall be made in a
        motion separate from the Complaint. See, e.g., LCvR 75.1(a). Such motions shall be
        accompanied by a statement of the specific points of law and authority that support the
        motion, including, where appropriate, a concise statement of facts. LCvR 7(a).

7.   MOTIONS FOR EXTENSION OF TIME OR RESCHEDULING HEARING
     a. Motion Required. Extensions or enlargements of time will be granted only upon motion,
        and not upon stipulation by the parties. Motions for extensions of time or for
        continuances of court proceedings are strongly discouraged. Counsel and parties should
        work within the time frames set by the Scheduling Order.
     b. Timing and Content. When good cause is shown, the Court will consider a motion for
        time extension or continuance of a proceeding that is filed at least 4 days prior to the
        deadline and states:
            i. the original date of the deadline the motion is seeking to extend or the date of the
                scheduled hearing the motion is seeking to continue;
           ii. the number of previous extensions of time or continuances granted to each party;
         iii. the good cause supporting the motion;
          iv. the effect, if any, that the granting of the motion will have on existing deadlines;
           v.   for motions, suggested deadlines (reached in consultation with the opposing
                party) for the filing of any opposition and reply papers; for continuances, three
                alternative dates and times that are convenient to all parties; and
          vi. the opposing party’s position on the motion, including any reasons given for
                refusing to consent, see LCvR 7(m).
     c. Opposition. A party opposing a motion for an extension of time or continuance of a
        scheduled hearing date must file, by 5:00 PM of the business day after the motion is
        filed, the party’s reasons for opposing the motion. If no such explanation is provided
        to the Court within this time frame, the motion shall be deemed conceded. Informing the
        opposing party that the motion for an extension or continuance is opposed does not
        constitute an explanation to the Court.
     d. Untimely motions. Untimely motions for an extension must contain an explanation for
         the failure to comply with the four-day rule.
                                            Page 4 of 7
         Case 1:21-cv-02380-BAH Document 10 Filed 09/13/21 Page 5 of 7



8.    DISCOVERY DISPUTES
      a. Telephone Conference. The Court expects the parties to follow the requirements of
         Federal Rule of Civil Procedure 26 and Local Civil Rule 26.2. Before bringing a
         discovery dispute to the Court’s attention, the parties must confer in good faith in an
         attempt to resolve the dispute informally. If unable to resolve the dispute informally, the
         parties shall jointly prepare an email to send to the Court, at
         Howell_Chambers@dcd.uscourts.gov, requesting a teleconference with the Court and
         including a clear, concise description of the issues in dispute, an explanation of the
         parties’ positions with citations, and responses to opposing arguments.
      b. Leave of Court Required. Before filing a motion relating to a discovery dispute, a party
         must obtain leave of the Court. Failure to comply with this requirement may result in
         any such motion being stricken.

9.    SETTLEMENT
      The Court expects the parties to evaluate the case for purposes of settlement. Toward that
      end, the parties may, by motion, request referral for mediation to a Magistrate Judge or the
      Court’s mediation program. The parties may also seek relief, by motion, from a Scheduling
      Order for arbitration, early neutral evaluation, or any other form of alternative dispute
      resolution that may be tailored to the needs of the case. If the case settles, in whole or in
      part, plaintiff’s counsel must promptly file a notice with the Court.

10.   JOINT PRETRIAL STATEMENT
      a. Timing. The parties must file with the Court a Joint Pretrial Statement at least 14 days
         before the final pretrial conference unless the Court sets another filing date. See
         LCvR 16.5(a).
      b. Contents. In accordance with Local Civil Rule 16.5(b), (d), and (e), the Joint Pretrial
         Statement must include:
            i. a one-paragraph joint statement of the case that is appropriate to be read to the
                 jury and describes the nature of the case and the identities of the parties;
           ii. the estimated length of the evidentiary portion of the trial;
          iii. a statement of claims setting forth each claim a party has against any other party
                 and the statutory basis of the Court’s jurisdiction for all causes of action;
          iv. a statement of defenses setting forth each defense raised by a party to a claim
                 asserted against it;
           v.    a list of witnesses (including expert and potential rebuttal witnesses) anticipated
                 to be called by each party, accompanied by a brief description of each witness’s
                 expected testimony and the anticipated time for such testimony on direct,
                 followed by specific objections (if any) to each witness;
          vi. a list of exhibits that each party intends to offer during trial and separately
                 identifying exhibits that may be offered if the need arises, followed by specific
                 objections (if any) to each exhibit, which exhibit list shall be in a format with six
                 columns, with separate headings for: (1) exhibit number, (2) description of
                 exhibit, (3) marked for identification, (4) admitted in evidence, (5) objection, and
                 (6) witness/date;
         vii. a designation of depositions, or portions thereof, to be offered into evidence by
                 each party. To facilitate the Court’s review and ensure clarity of the record
                 regarding the Court’s ruling on each objection posed by any party to the
                 opposing party’s transcript designation or cross-designation, any objections to a
                                             Page 5 of 7
         Case 1:21-cv-02380-BAH Document 10 Filed 09/13/21 Page 6 of 7


                 designation shall be set out in a chart for each deposition, which chart shall be in
                 a format with eight columns that identifies, for each transcript designation to
                 which objections are lodged, IN TRANSCRIPT PAGE NUMBER ORDER: (1)
                 the sequential number to be associated with the objection; (2) identification of
                 the page and line of the transcript designations offered; (3) the party offering the
                 transcript designation; (4) the party objecting to the transcript designation; (5) the
                 Federal Rule of Evidence relied upon for the objection and a brief explanation by
                 the objecting party; (6) a brief rebuttal by the proponent of the transcript
                 designation; (7) a column, which the parties shall leave blank, with the heading
                 “Sustained”; and (8) a second column, which the parties shall leave blank, with
                 the heading “Overruled”;
         viii. an itemization of damages setting forth each element of damages and the
                 monetary amount thereof (including prejudgment interest, punitive damages, and
                 attorney’s fees) sought;
           ix. a description of other relief sought by each party;
            x.   stipulations concerning authenticity of documents, admissibility of exhibits or
                 testimony, or undisputed facts;
           xi. a description of each specific item of demonstrative evidence, physical evidence,
                 or videotape evidence that will be offered at trial and any objections; and
          xii. a list of any motions in limine that are pending to address issues the parties
                 reasonably anticipate will arise at trial. See infra ¶ 10 regarding the timing for
                 briefing on motions in limine.
      c. Jury Cases. In jury cases, the parties must submit as part of the Joint Pretrial Statement:
             i. proposed voir dire questions that indicate:
                    I.   the voir dire questions on which the parties agree; and
                   II. the voir dire questions on which the parties disagree, with specific
                         objections noted below each disputed question and supporting legal
                         authority (if any);
            ii. the text of each proposed jury instruction that indicates:
                    I.   the instructions on which the parties agree;
                   II. the instructions on which the parties disagree, with specific objections
                         noted below each disputed instruction and supporting legal authority (if
                         any); and
                  III. the proposed instruction’s source (e.g., Standardized Civil Jury
                         Instructions for the District of Columbia) or, for modified or new
                         instructions, the supporting legal authority.
          iii. a proposed verdict form, as well as proposed special interrogatories (if any), that
                 includes date and signature lines for the jury foreperson.
      d. Non-Jury Cases. In non-jury cases, the plaintiff, or plaintiffs jointly, shall file proposed
         findings of fact and conclusions of law within three days of the close of evidence, and
         the defendant, or defendants jointly, shall file proposed findings of fact, which include
         specification of any facts proposed by the plaintiff that are admitted or controverted, and
         conclusions of law within five days of the close of evidence, unless otherwise ordered by
         the Court upon request of the parties.

11.   PRETRIAL CONFERENCE
      a. Attendance. In addition to parties’ counsel, all parties or party representatives must be
         present at the Pretrial Conference.

                                             Page 6 of 7
         Case 1:21-cv-02380-BAH Document 10 Filed 09/13/21 Page 7 of 7


12.   MOTIONS IN LIMINE.
      a. Timing. Motions in limine shall be fully briefed at the time of filing of the parties’
         Joint Pretrial Statement. Accordingly, the moving party’s motion in limine and
         supporting memorandum shall be filed and served upon the opposing party at least 21
         days before the Joint Pretrial Statement is due. The opposition shall be filed and served
         upon the moving party within 14 days of service of the motion in limine. Any reply
         shall be due within 7 days of service of the opposition. Oral argument on motions in
         limine, if necessary, shall occur at the Pretrial Conference.

13.   JURORS
      a. Confidentiality. The names and personal information of prospective and sitting jurors in
         any trial of this matter shall be kept confidential and not disclosed outside of open court,
         except upon order of the Court. See, D.D.C. JURY SELECTION PLAN, § K.1, available at
         https://www.dcd.uscourts.gov/sites/dcd/files/JurySelectionPlanReviewed2015.pdf.
         Counsel and parties are cautioned that violation of this directive may result in contempt
         proceedings.

      SO ORDERED.

      DATE: September 13, 2021


                                                           BERYL A. HOWELL
                                                           Chief Judge




                                             Page 7 of 7
